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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :      19-CR-131 (PAE)
                                                                       :
JUSTIN RIVERA, and,                                                    :   SCHEDULING ORDER
DWAYNE ANTHONY CONLEY                                                  :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

PAUL A. ENGELMAYER, District Judge:

        The Court schedules a telephonic conference in this case for November 9, 2020 at 12:00

p.m. The parties are to consult the Court’s Emergency Individual Rules and Practices in Light of

COVID-19, available at https://www.nysd.uscourts.gov/hon-paul-engelmayer. To access the

conference, the parties should call 888-363-4749 and use access code 468-4906.


        SO ORDERED.


Dated: November 4, 2020
       New York, New York
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                                                             __________________________________
                                                                   PAUL A. ENGELMAYER
                                                                   United States District Judge
